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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


  In re                                                             Chapter 11

  STANADYNE LLC, et al.,1                                           Case No. 23-10207 (TMH)

                   Debtors.                                         (Jointly Administered)

                                                                    Hearing Date: August 22, 2023 at 11:00 a.m. (ET)
                                                                    Objection Deadline: August 15, 2023 at 4:00 p.m. (ET)



        DEBTORS’ MOTION FOR ENTRY OF AN ORDER (I) AUTHORIZING
     THE DEBTORS TO ABANDON OR, ALTERNATIVELY SELL THE WINDSOR
                 PROPERTY AND (II) FOR RELATED RELIEF

          The above-captioned affiliated debtors and debtors in possession (collectively, the

“Debtors”) hereby file this motion (the “Motion”) for entry of an order, substantially in the form

attached hereto as Exhibit A (the “Proposed Order”), (I) authorizing the Debtors to either (A)

pursuant to sections 105(a) and 554(a) of title 11 of the United States Code, 11 U.S.C. §§ 101–

1532 (the “Bankruptcy Code”), and Rule 6007 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), abandon an approximately 53-acre real property parcel at 90-92 Deerfield

Road, Windsor, Connecticut, including all buildings, fixtures, structures and improvements

situated thereon and all easements, rights-of-way and other rights and privileges appurtenant

thereto (together with all personal property located thereon, the “Windsor Property”), owned by

Debtor Stanadyne LLC, constituting its former headquarters and manufacturing facility or, (B) in

the alternative, in the event that an actionable offer materializes prior to abandonment, to sell the

Windsor Property pursuant to sections 105, 363, and 365 of the Bankruptcy Code and Bankruptcy



1.        The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
identification number are: Stanadyne LLC (0378); Pure Power Technologies, Inc. (5202); Stanadyne PPT Holdings,
Inc. (2594); and Stanadyne PPT Group Holdings, Inc. (1734). The Debtors’ headquarters are located at 405 White
Street, Jacksonville, North Carolina 28546.


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Rules 2002, 6004 and 6006, and Local Rule 6004-1 of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court of the District of Delaware (the “Local Rules”),

and (II) granting such other further relief as this Court deems proper. In support of this Motion,

the Debtors respectfully state as follows:

                                 JURISDICTION AND VENUE

       1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334,

and the Amended Standing Order of Reference from the United States District Court for the District

of Delaware, dated as of February 29, 2012. This is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2) and, pursuant to Local Rule 9013-1(f), the Debtors consent to entry of a final order by

the Court in connection with this Motion to the extent that it is later determined that the Court,

absent consent of the parties, cannot enter final orders or judgments in connection herewith

consistent with Article III of the United States Constitution. Venue is proper before the Court

pursuant to 28 U.S.C. §§ 1408 and 1409.

       2.      The statutory and legal predicates for the relief requested herein to abandon the

Windsor Property are sections 105(a) and 554(a) of the Bankruptcy Code, along with Bankruptcy

Rule 6007. The statutory and legal predicates for the alternative relief requested herein to sell the

Windsor Property in the event that an actionable sale proposal materializes prior to abandonment

are sections 105, 363, and 365 of the Bankruptcy Code, Bankruptcy Rules 2002, 6004, and 6006,

as well as Local Rule 6004-1.

                                         BACKGROUND

A.     General Background

       3.      On February 16, 2023 (the “Petition Date”), the Debtors commenced these

bankruptcy cases by filing voluntary petitions for relief under chapter 11 of the Bankruptcy Code




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(the “Chapter 11 Cases”). On March 6, 2023, the United States Trustee for the District of Delaware

(the “U.S. Trustee”) appointed the official committee of unsecured creditors (the “Committee”)

[Docket No. 78]. No request has been made for the appointment of a trustee or examiner.

        4.       The events leading up to the Petition Date and the facts and circumstances

supporting the relief requested herein are set forth in the Declaration of John Pinson, Chief

Executive Officer of Stanadyne LLC, in Support of First Day Relief [Docket No. 12].

B.      Sale of Substantially All of the Debtors’ Assets

        5.       After the Petition Date, the Debtors commenced a marketing process to explore a

sale of their assets (the “Sale Process”). To further this Sale Process, on April 27, 2023, the
                                                                     2
Debtors filed a motion [Docket No. 245] (the “Sale Motion”) for the entry of an order approving,

among other things, bidding procedures in connection with the sale of substantially all of the

Debtors’ assets.

        6.       On May 8, 2023, the Debtors entered into the Stalking Horse Purchase Agreement

(the “Purchase Agreement”) with Stanadyne Operating Company LLC (formerly known as S-PPT

Acquisition Company, LLC) (the “Purchaser”), an entity formed at the direction of the Prepetition

Agent and Prepetition Secured Lenders for the purpose of entering into and consummating the

transactions contemplated therein [Docket No. 265].

        7.       On May 16, 2023, the Court entered its Order (I) Approving Bidding Procedures,

(II) Scheduling an Auction and a Sale Hearing, (III) Approving the Form and Manner of Notice

Thereof, (IV) Establishing Notice and Procedures for the Assumption and Assignment and Sale of




2       Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Purchase Agreement, Sale Motion or Bidding Procedures Order, as applicable.


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Contracts and Leases, and (V) Granting Related Relief [Docket No. 276] (the “Bidding Procedures

Order”).

       8.      On June 22, 2023, the Debtors filed a Notice of Designation of Successful Bidder

and Cancellation of Auction [Docket No. 394], indicating that Purchaser was the sole bidder for

the Debtors’ assets.

       9.      On July 11, 2023, the Court entered its Order (I) Approving Asset Purchase

Agreement, (II) Authorizing the Sale of Substantially All of the Debtors’ Assets Free and Clear of

All Encumbrances, (III) Authorizing the Assumption and Assignment of Certain Executory

Contracts and Unexpired Leases, and (IV) Granting Related Relief [Docket No. 443] (the “Sale

Order”) approving the Sale to the Purchaser.

       10.     The Sale to the Purchaser closed on July 31, 2023. In accordance with the

Purchaser Agreement and Sale Order, the Purchaser has designated the Windsor Property as an

Excluded Asset under the Purchase Agreement. As such, the Debtors are not selling the Windsor

Property to the Purchaser, and the Purchaser is not purchasing or otherwise acquiring the Windsor

Property from the Debtors.

C.     The Windsor Property

       11.     Debtor Stanadyne LLC owns the Windsor Property, which, as noted above, consists

of approximately 53 acres of real property located in Windsor, Connecticut, along with (1)

buildings, fixtures, structures and improvements situated thereon, (2) easements, rights-of-way and

other rights and privileges appurtenant thereto and (3) personal property located thereon.

       12.     The Windsor Property is a burden on the Debtors’ estates. Prior to the Petition

Date, the Debtors relocated their headquarters from the Windsor Property to Jacksonville, North

Carolina. The Debtors do not require the use of the Windsor Property for ongoing operations.




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Nevertheless, the Debtors incur approximately $1 million per year in connection with Stanadyne

LLC’s ownership of the Windsor Property, including costs such as real property taxes, utilities,

maintenance, insurance, and security. Given that the Debtors no longer use the Windsor Property

as their headquarters or a manufacturing facility, the property no longer affords the Debtors any

value. Moreover, given the approved sale of substantially all of the Debtors’ assets, the Debtors

are no longer able to fund continuing maintenance costs for the Windsor Property.

        13.      The Windsor Property is also subject to a Remedial Action Plan. [See Docket No.

201, Part 12, SOFAs 22, 24; Attachments 22, 24.] Substantial environmental work has been

completed at the Windsor Property during a span of over 18 years.

D.      The Debtors’ Attempt to Separately Sell the Windsor Property

        14.      Given that the Purchaser made clear to the Debtors that it would not acquire the

Windsor Property, on June 20, 2023, the Debtors sought Court approval to retain Jones Lang

LaSalle Americas, Inc. (“JLL”) as real estate broker to market and sell the Windsor Property to

maximize value for the Debtors’ estates and their creditors [Docket No. 383].

        15.      Despite JLL’s best efforts, the Debtors have not received any acceptable offers for

the Windsor Property to date. Nor do the Debtors believe that it would be appropriate to continue

to incur costs to maintain the Windsor Property and thereby diminish the remaining resources of

their estates. Accordingly, the Debtors have determined, in their reasonable business judgment,

that given the facts and circumstances it would benefit the Debtors and their estates to abandon the

Windsor Property.3




3.       For the avoidance of doubt, the Debtors reserve the right to withdraw this motion for any reason, including
in the event that they receive an acceptable offer for the Windsor Property prior to abandonment.


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       16.     Nevertheless, the Debtors remain willing to consider any and all reasonable

bids for the Windsor Property, and encourage any and all potential purchasers to submit

such bids to the Debtors as soon as possible prior to the abandonment of the property. For

this reason, as an alternative to abandonment, in the event the Debtors receive an actionable offer

for the sale of the Windsor Property, by this Motion the Debtors, in coordination with the

Committee, will seek approval of an acceptable sale transaction on the return date of this Motion,

as may be adjourned from time to time.

                                     RELIEF REQUESTED

       17.     By this Motion, the Debtors request entry of the Proposed Order authorizing,

pursuant to sections 105(a) and 554(a) of the Bankruptcy Code, the Debtors to abandon the

Windsor Property, after which point the Debtors would not be obligated to pay any liabilities

related to the Windsor Property. In the alternative, in the event a purchaser for the Windsor

Property materializes with an actionable offer, the Debtors request the authority to sell the Windsor

Property (including the assumption and assignment of any related executory contracts and

unexpired leases) pursuant to sections 105, 363, and 365 of the Bankruptcy Code.

                                      BASIS FOR RELIEF

A.     Abandonment

       18.     Section 554 of the Bankruptcy Code provides that “[a]fter notice and a hearing, the

trustee may abandon any property of the estate that is burdensome to the estate or that is of

inconsequential value and benefit to the estate.” 11 U.S.C. § 554(a). “[T]he debtor need only

demonstrate that it has exercised sound business judgment in making the determination to

abandon.” In re Contract Research Sols., Inc., No. 12-11004 KJC, 2013 WL 1910286, at *4

(Bankr. D. Del. May 1, 2013) (citations omitted). This requires a showing that the debtor made




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(a) a business judgment, (b) in good faith, (c) upon some reasonable basis, and (d) within its

authority. See Truong v. 325 Broadway Associates LLC (In re Truong), 557 B.R. 326, 340 (Bankr.

D.N.J. Aug. 30, 2016) (citing In re Slack, B.R. 282, 284 (Bankr. D.N.J. 2003)). Furthermore,

courts in this district have granted similar relief in other chapter 11 cases. See, e.g., In re

Mallinckrodt PLC., No. 20-12522 (JTD) (Bankr. D. Del. Apr. 28, 2022), Docket No. 7252; In re

National Dry Cleaners Inc., No. 08-11382 (CSS) (Bankr. D. Del. May 29, 2009), Docket No. 613.

       19.      Abandonment of the Windsor Property does not trigger the exception to the

Bankruptcy Code’s abandonment power because the Windsor Property does not pose a threat of

imminent and identifiable harm to public health or safety.        See Midlantic Nat. Bank v. New

Jersey Dep’t of Env’t Prot., 474 U.S. 494, 507 n.9 (1986) (the “exception to the abandonment

power . . . is a narrow one . . . The abandonment power is not to be fettered by laws or regulations

not reasonably calculated to protect the public health or safety from imminent and identifiable

harm.”).     As long as “there is no imminent threat to public health or safety,” abandonment is

permitted even if “state laws or regulations designed to protect public health or safety will

be violated as a consequence.”     In re Guterl Special Steel Corp., 316 B.R. 843, 859-60 (Bankr.

W.D. Pa. 2004) (permitting abandonment of 9.1 acres of property contaminated with radioactive

waste where site no longer posed imminent threat to public health or safety). As stated above,

substantial environmental work has been completed at the Windsor Property during a span of over

18 years.

       20.      Abandonment also is permitted where, like here, the property is burdensome and

of inconsequential value to the bankruptcy estate and where the state environmental agency fails

to demonstrate any imminent threat to public health or safety. See id. at 860 (state law or

regulation to protect public health or safety that obstructs or prevents expeditious distribution




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of estate assets is “trumped” by § 554(a), particularly where agency inaction on resolving site

cleanup leads to “gridlock”) (internal citations omitted). Simply put, the Windsor Property does

not have any value to the Debtors and the continued ownership of the property is burdensome to

the Debtors’ estates. The Debtors filed these cases to implement an orderly sale process. Despite

an extensive marketing effort pursuant to Court-approved auction and bidding procedures, and a

subsequent marketing effort by JLL, during which the Debtors thoroughly marketed the Windsor

Property for sale, the Debtors have not yet found acceptable purchasers for the Windsor Property,

either as part of a sale of substantially all of their assets, or as a single real estate parcel.

        21.     Based on the foregoing, the Debtors submit that it is a reasonable exercise of their

business judgment to abandon the Windsor Property absent an appropriate sale transaction

materializing prior to abandonment.

B.      Alternative Sale Relief

        22.     As noted, in order to provide maximum flexibility to the estates, the Debtors seek

alternative relief herein to sell the Windsor Property (and the assumption and assignment of any

applicable executory contracts and unexpired leases) if a purchaser materializes with an actionable

offer prior to abandonment. Pursuant to section 105(a) of the Bankruptcy Code, a “[c]ourt may

issue any order, process or judgment that is necessary or appropriate to carry out the provisions of

this title.” 11 U.S.C. § 105(a). Section 363(b) of the Bankruptcy Code provides that a debtor,

“after notice and a hearing, may use, sell, or lease, other than in the ordinary course of business,

property of the estate.” 11 U.S.C. § 363(b). Although section 363(b) does not specify a standard

for determining when it is appropriate for a court to authorize the use, sale or lease of property of

the estate, courts have required that such use, sale or lease be based upon the sound business

judgment of the debtor. See, e.g., Myers v. Martin (In re Martin), 91 F.3d 389, 395 (3d Cir. 1996)




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(internal citation omitted); Comm. of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 722

F.2d 1063, 1070–71 (2d Cir. 1983); In re Abbotts Dairies of Pennsylvania, Inc., 788 F.2d 143,

147–48 (3d Cir. 1986) (implicitly adopting the “sound business judgment” test of In re Lionel

Corp.); In re Delaware & Hudson Ry. Co., 124 B.R. 169, 175–76 (D. Del. 1991) (holding that the

Third Circuit adopted the “sound business judgment” test in Abbotts Dairies); Dai-Ichi Kangyo

Bank, Ltd. v. Montgomery Ward Holding Corp. (In re Montgomery Ward Holding Corp.), 242

B.R. 147, 153 (D. Del. 1999) (same).

       23.     The demonstration of a valid business justification by the debtor leads to a strong

presumption “that in making [the] business decision the directors of a corporation acted on an

informed basis, in good faith and in the honest belief that the action taken was in the best interests

of the company.” Official Comm. of Subordinated Bondholders v. Integrated Res., Inc. (In re

Integrated Res., Inc.), 147 B.R. 650, 656 (S.D.N.Y. 1992) (quoting Smith v. Van Gorkom, 488

A.2d 858, 872 (Del. 1985)).

       24.     Section 365 of the Bankruptcy Code provides that a debtor in possession, “subject

to the court’s approval, may assume or reject any executory contract or unexpired lease of the

debtor.” 11 U.S.C. § 365(a). The standard applied to determine whether the assumption of a

contract or an unexpired lease should be authorized is the “business judgment” standard. See In

re AbitibiBowater Inc., 418 B.R. 815, 831 (Bankr. D. Del. 2009) (finding that a debtor’s decision

to assume or reject an executory contract will stand so long as “a reasonable business person would

make a similar decision under similar circumstances.”); In re HQ Global Holdings, Inc., 290 B.R.

507, 511 (Bankr. D. Del. 2003) (stating a debtor’s decision to reject an executory contract is

governed by the business judgment standard and can only be overturned if the decision was the

product of bad faith, whim, or caprice). As described above, “[t]he business judgment rule ‘is a




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presumption that in making a business decision the directors of a corporation acted on an informed

basis, in good faith and in the honest belief that the action taken was in the best interest of the

company.’” Integrated Res., Inc., 147 B.R. at 656 (quoting Smith v. Van Gorkom, 488 A.2d at

872). Indeed, “the sole issue is whether the rejection benefits the estate.” In re HQ Global, 290

B.R. at 511.

       25.      If an acceptable purchaser materializes, the Debtors may seek approval of a value-

enhancing transaction on the return date of this Motion, as may be adjourned from time to time.

The Debtors would file a supplement to this Motion identifying any proposed purchaser and the

material terms of the purchase, including identifying any executory contracts and unexpired leases

that any purchaser would seek to acquire and setting forth the necessary criteria for any such

assignment (including adequate assurance of future performance and any cure amounts required

to be paid).

                                              NOTICE

       26.      Notice of the hearing on this Motion shall be provided to (i) the U.S. Trustee; (ii)

counsel for the Committee; (iii) counsel for the Prepetition Agent for the Prepetition Secured

Lenders; (iv) the Connecticut Department of Energy & Environmental Protection; (v) the United

States Environmental Protection Agency; (vi) the Town of Windsor; (vii) Hartford County; (viii)

the State of Connecticut; (ix) all utility providers for the Windsor Property; and (x) all parties that

have filed a notice of appearance and request for service of papers pursuant to Bankruptcy Rule

2002. The Debtors submit that, in light of the nature of the relief requested, no other or further

notice need be given.




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                                                CONCLUSION

        WHEREFORE, for the reasons set forth herein, the Debtors respectfully request that this

Court (i) enter the Proposed Order substantially in the form attached hereto, authorizing and

approving (a) the abandonment of the Windsor Property or (b) alternatively, the sale of the

Windsor Property4; and (ii) grant such other and further relief as it deems just and proper.

 Dated: August 2, 2023                               YOUNG CONAWAY STARGATT &
        Wilmington, Delaware                         TAYLOR, LLP

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                                                     Counsel for the Debtors


4 The Proposed Order only addresses the abandonment of the property. In the event of an alternative sale transaction,
a proposed order for such sale will be filed with any supplemental notice of this Motion.


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